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United States District Court IN CLERK'S OFFICE
Middle District Tennessee SEP 0 9 2016
) Craig Cunningham U.S. DISTRICT COURT
) Plaintiff, Pro-se MID. DIST. TENN.
)
) Vv. CIVIL ACTION NO.
)

) Steven Pratt, Pelvic Thrust Media, LLC, Anvil Advertising, Inc., Branded
Research, Inc., Matt Gaffney, Jeff Ackerman, The SV Trust, Praza, LLC,
Bumrush media, LLC, PDL Protect, LLC, Rusty Robot Media, LLC, Bad Loan
Relief, LLC, Michelle Dobler,

) John/Jane Doe 1-10

) Defendants.

Plaintiff's Original Complaint

1. The Plaintiff in this case is Craig Cunningham, a natural person and was
resident of Davidson County at all times relevant to the complaint, and
currently has a mailing address of 5543 Edmondson Pike, ste 248,
Nashville, TN 37211

2. Pelvic Thrust Media, LLC is a Florida corporation operating from 1451 W.
Cypress Creek Road, ste 212, Fort Lauderdale, FL 33309 and can be
served via corporate officer and registered agent Steven Pratt at 1743 S.
State Road 7, # 204, North Lauderdale FL, 33068 or 1451 W. Cypress
Creek Road ste 212, Fort Lauderdale 33309

3. Anvil Advertising, Inc., is a defunct Florida corporation that can be served
via registered agent and corporate officer Steven Pratt at 1743 S. State
Road 7 # 204, North Lauderdale, FL 33068 or 1451 W. Cypress Creek

Road, ste 212, Fort Lauderdale, FL 33309.

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4. PDL Protect, LLC is a Florida corporation that can be served via registered
agent and corporate officer Steven Pratt at 6499 Powerline Road # 205,
Fort Lauderdale, FL 33309.

5. Rusty Robot Media, LLC is a Florida corporation that can be served via
registered agent and corporate officers Steven Pratt and Michelle Dobler
at 6499 NW 9' Ave., ste 205, Fort Lauderdale, FL 33309.

6. Michelle Dobler is a corporate officer of Rusty Robot Media, LLC and can
be served at 6499 NW 9t Ave., ste 205, Fort Lauderdale, FL 33309.

7. Bad Loan Relief, LLC is a Florida corporation that can be served via
registered agent Steven Pratt, 1451 W. Cypress Creek Road # 212, Fort
Lauderdale, FL 33309 or corporate officer Michelle Dobler, 1451 W.
Cypress Creek Road, Fort Lauderdale, FL 33309.

8. BumRush Media, LLC is a Florida corporation that can be served via
registered agent Steven Pratt, 1451 W. Cypress Creek Road # 212, Fort
Lauderdale, FL 33309 or Corporate officer Michelle Dobler 1451 W.
Cypress Creek Road Ste 212, Fort Lauderdale, FL 33309.

9. Steven Pratt is a corporate officer for Pelvic Thrust Media, LLC and can be
served at 17454 S. State Road 7 # 204, North Lauderdale, FL 33068 or
1451 W. Cypress Creek Road, ste 212, Fort Lauderdale, FL 33309.

10.Branded Research, Inc., is a Delaware corporation with a registered agent
of The Corporation Trust Company, Corporation Trust Center 1209

Orange St., Wilmington, DE 19801.

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11.Matt Gaffney and Jeff Ackerman are natural persons who can be served at
2146 Kettner Blvd., San Diego, CA 92101.

12.Praza, LLC is an Arizona corporation operating from 14747 N. Northsight
Blvd., ste 111-400, Scottsdale, AZ 85260 and can be served via registerd
agent Registered Agents, Inc., 1846 E. Innovation Park Dr., ste 100, Oro
Valley, AZ 85755.

13. The SV Trust is the manager of Praza, LLC and can be served at 14747
N. Northsight Blvd., ste 111-400, Scottsdale, AZ 85260.

14. John/Jane Does 1-10 are currently unknown persons or entities that are

also liable for the calls in question.

Jurisdiction
15. Jurisdiction of this court arises as the acts happened in this county
16. Venue in this District is proper in that the defendants transact business
here, and the acts and transactions occurred here.
17. The Defendants regularly had calls placed for their benefit or on their
behalf to Tennessee residents for the purpose of soliciting residents to buy
their promotional products and services, and these products and services

were regularly shipped to Tennessee residents.

FACTUAL ALLEGATIONS

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18. In 2016, the Plaintiff recieved multiple unsolicited and unwanted text
messages prompting the Plaintiff to go to odd websites for a beauty kit.
Unsolicited text messages have been deemed phone calls under the
TCPA. These were touted as “free samples” where the Plaintiff would only
pay the shipping and handling fees. This is typical of “negative option
marketing” where a consumer must opt out of future charges or they will
be charged for a program. These programs have frequently drawn scrutiny
from the FTC and multiple class action lawsuits for deceptive marketing
practices.

19.All of the text messages were placed to the Plaintiff's cell phones 615-331-
7262. All of the text messages redirected the Plaintiff to a website
antiagingrewards.com. At antiagingrewards.com, there were a total of 4
products being offered for sale, which were Chamomile calm sold by
Praza, LLC, Nu Beauty, Ageless Illusion, and Metabo Matrix. The
Plaintiff is in the process of identifying the companies that manufacture
each of these products and should be able to identify them through the
discovery process.

20. The website antiagingrewards.com is owned by Steven Pratt and Anvil
Advertising Inc., or Pelvic Thrust Media, LLC both of which are entities
owned and controlled by Steven Pratt. The other entities owned or
controlled by Steven Pratt to hide money and as alter ego’s of the original
corporations that engaged in the illegal behavior. Steven Pratt is using

these other corporation to hold and launder money generated through

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these illegal text messaging schemes or are used by Steven Pratt in these
illegal marketing schemes.

21.The process works as follows: The Plaintiff would be sent an illegal text
message to his cell phone by an entity owned/controlled by Steven Pratt
or entities he controlls. The text message would list a website owned and
controlled by Steven Pratt that redirects to antiagingrewards.com, which is
also owned and controlled by Steven Pratt or entities he controls. On the
antiagingrewards website, there would be 4 products sold for which
Steven Pratt generates a comission for himself, and the companies selling
the products hope to trick unwitting consumers into buying and rebilling at
inflated prices later.

22. Steven Pratt or entites he controls signed contractual agreements with
each of these 4 companies selling these beauty products to generate
leads and sell their products through his efforts for which he would be
rewarded with comissions for each sale.

Details on the text messages sent to the Plaintiff

23.On August 24th, 2016, the Plaintiff recieved a text from 832-637-3574.
The text message said “Greg, just come to http://f/49j.pw and claim your
no-risk products from Kim and Kourtney kK!” which is apparently a direct
and false reference to Kim and Kourtney Kardashian that actually don’t
endorse or refer to these products.

24. Another text message on 8/23/2016 from 828-295-2610 stated “Greg, you

may get your 3 no-risk products. Click on http:/9f4dem.us”

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25. Another text came in on 8/22/2016 from 336-536-0211 with a nearly
identical message to the one in paragraph 11 of the complaint but directed
the Plaintiff to go to http://fj49j.site instead.

26.Another text came in on August 20" 2016 from 501-239-5640 with an
message of “Greg, simply click http:/jg-48f.xyz and redeem up to 6 risk
free products from Kim and Kourtney K.”

27.On August 19" 2016, the Plaintiff recieved a message from 337-313-2642
which stated “Greg, just click http://dlk49.pw to redeem up to 5 risk-free
products by kim and Kourtney!”

28.On August 14", 2016 the Plaintiff recieved a text mesage from 501-242-
0163 nearly identical to the message in paragraph 11 which stated instead
that the Plaintiff should visit “http://f94-fk.us”

29.On August 13, 2016, the Plaintiff recieved a text from 915-267-1150
stating “Greg, come and claim up to 5 no-risk products. Visit http:/dkfg4-
k.us”

30.On August 12, 2016, the Plaintiff recieved a text from 772-242-4719 which
stated “Greg, come and claim up to 3 no-risk beauty kits. Come to
http://d!k49.pw to get full details.”

31.On August 11, 2016, the Plaintiff recieved a text from 281-783-6141 which

stated “Greg, just click to http://f49-fk.us and claim up to 6 no-risk products

from Kim K and Kourtney!”

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32.On August 10, 2016, the Plaintiff recieved a text from 920-605-9223 whcih
stated “Greg, please click http://sm-2w.site and redeem your no-risk
beauty kits by Kim and Khloe!”

33.On August 9", 2016 the Plaintiff recieved a text from 803-393-3417 that
stated “Greg, you can claim your 6 no risk beauty boxes. Visit http:/jg-48f-
pw to find info.”

34.On August 8", 2016 the Plaintiff received a text from 720-500-6870 that
stated “Greg, just click to http://f94-fk.us and claim up to 3 risk-free beauty
kits from Kim K and Khloe!”

35.On August 4", 2016 the Plaintiff recieved a text from 724-821-5175 that
stated “Greg, just click http:/argue.host and claim your risk-free beauty
kits by Kim K and Kourtney” and another text from 503-436-6638 that
stated “Greg you can claim up to 2 risk-free products. Visit http:/k94-d. bid
to see info”

36. On August 3", 2016 the Plaintiff recieved a text message from 870-66-
5359 that stated “Greg, come and claim your 4 no-risk beauty kits. Come
to http://among.tech to get details”

37.On April 29, 2016 the Plaintiff recieved a text message from 740-207-2502
that stated “PRE-RELEASE! You can try Kim and Kourtney’s new skincare
line risk-free today! Visit the pre-release portal at http://cpo1.net to get
started!”

38.On April 5 and 19 2016 the Plaintiff recieved text messages from a short

code of 24413 which the Plaintiff is in the process of researching, but the

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text messages stated “You were selected as a skincare product tester. To
get started today please visit http:/goo.gl//PQbk4p to claim your products
and reserve your spot.” and “You were selected to try our new derma
cream line free in your home. Visit http://goo.gl/or2xty to get started.”

39.In total, the Plaintiff recieved 19 text messages that were unsolicited and
unwanted to his cell phone.

40.As these above named parties stand to profit and benefit from the
Plaintiff's enrollment in these programs, they are vicariously liable for the
calls as a seller, as defined by the TCPA. Steven Pratt and his entites are
directly liable for the calls that were placed, and the entities and managers
for the products sold are jointly, severally, and vicariously liable for the
damages in question.

41. The individual corporate officers and managers of each of the corporate
entities are liable for the calls placed on behalf or for their benefit. They
are personally liable for the TCPA damages as they had direct, personal
participation in causing the illegal telephone calls to be made as well as
they directly authorized the illegal telemarketing calls to be made.

42. The individual corporate officers also failed to take efforts to implement
appropriate policies or procedures designed to comply with the TCPA
which makes them personally liable for the telephone calls made on their
behalf and for their benefit.

43.These text messages violated the TCPA in two ways, first by placing

multiple automated telephone calls to the Plaintiffs cell phone in violation

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of 47 USC 227(b), and second by not conforming to the requirements of
47 USC 227(c)(5) and the FCC’s rulemaking authority under 47 CFR
64.1200(d), which requires the defendants to have a written policy for
maintaining a do-not-call list, failure to train agents and personnel
engaged in telemarketing on the use of the do-not-call list, and the failure
to identify the party placing the call or the entity for which the call is being
placed. Each of the Defendants are jointly liable to the Plaintiff in the
amount of $3,000 per call made, $1500 for violating 47 USC 227(b) and
$1500 for violating 47 USC 227(c)(5). Additionally, each product offered by
each company represents a new cause of action entitling the Plaintiff to
$3,000 per call per defendant.

44. The officers of the corporations have a direct role in the illegal conduct,
authorizing it and ratifying the illegal telephone calls.

45. The officers of each and every listed corporation had direct, personal
conduct in authorizing the telephone calls or oversaw and directed the
telemarketing efforts for which their corporations benefitted. The officers
set company policy and directed the marketing efforts of the respective
companies.

Vicarious Liability

46.In making these calls, the calling entity operated by Steven Pratt was

essentially marketing the products offered by each and every

manufacturer of the beauty creams and pills sold and others through an

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agency relationship with Praza, LLC and the other manufacturers of the
products sold. through an agency relationship with Global Media.

47. The 6" circuit as well as multiple other courts have ruled that there is
direct liability to include for corporate actors such as executives like and
vicarious liability for corporations that ultimately benefit or sell
services/products illegally marketed by 3" parties. The parties are also
jointly and severally liable for the phone calls as well.

48. Similarly, the calls were placed with apparent authority, actual authority,
and the ratification of each product manufacturer nd the respective
executives/officers of the corporation. These companies knew of the illegal
conduct by the entities placing the calls to include quality resources and
refused to exercise control or authority over defendants to reduce or
eliminate the improper sales methods.

Actual Damages

49. The Plaintiff has suffered actual damages in the form of the enrollment
fees charged. For example, Nubeauty charged the Plaintiff $6.95.

50. Additionally, the Plaintiff has suffered annoyance, frustruation, anger, loss

of cell phone use, reduced battery life of his cell phone due to the calls.

CAUSES OF ACTION:
COUNT |

Violations of the Telephone Consumer Protection Act (TCPA)

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51. Plaintiff Cunningham incorporates by reference all of the above

paragraphs of this complaint as though fully stated herein.

52. The foregoing actions by the Defendants constitute multiple breaches of
the TCPA by using an autoated telephone dialing system to place calls to
the Plaintiff's cell phone in violation of 47 USC 227(b).This entitles the
Plaintiff to recover $1500 per call.

CAUSES OF ACTION:
COUNT II
Violations of the Telephone Consumer Protection Act (TCPA)

53. Plaintiff Cunningham incorporates by reference all of the above
paragraphs of this complaint as though fully stated herein.

54. The foregoing actions by the Defendants constitute multiple breaches of
the TCPA by 47 USC 227(c)(5) by way of 47 CFR 64.1200(d) and failed to
comply with the requirements to maintain and train employees on the use
of a do-not-call list.

PRAYER FOR DAMAGES AND RELIEFS

A. WHEREFORE, Plaintiff, Cunningham, respectfully prays and requests
that judgment be entered against each and every defendant for the
following:

B. Statutory damages of $3000 for each phone call for each defendant

mentioned in the call

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C. Actual damages of the enrollment fees and additionally as the court may
find warranted at trial.

D. Pre-judgment interest from the date of the phone calls

E. Attorney’s fees for bringing this action; and

F. Costs of bringing this action; and

G. For such other and further relief as the Court may deem just and proper
|, Craig Cunningham, Affiant, hereby attest to and certify that the facts contained
in the foregoing complaint are true and correct to the best of my knowledge,

information and belief and that a true and correct copy of the foregoing was sent
to the defendants in this case.
}

Z
submitted septate” 2016

raig Connitgttam Plaintiff, Pro-se, 615-348-1977

5543 Edmondson Pike, ste 248, Nashville, TN 37211

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JS 44 (Rev. 07/16)

purpose of initiating the civil docket sheet.

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS

Craig Cunningham

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S, PLAINTIFF CASES)

(c) Attormeys (Firm Name, Address, and Telephone Number)

DEFENDANTS

Steven Pratt

NOTE:

Attorneys ([fKnown)

 

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Hi. BASIS OF JURISDICTION (Place an “X” in One Box Only) It. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 US. Government 43 Federal Question PIF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State {1 © 1 Incorporated or Principal Place go4 04
of Business In This State
0 2 US. Government O04 Diversity Citizen of Another State 1 2 © 2 Incorporated and Principal Place Os ms
Defendant (Indicate Citizenship of Parties in Item II1) of Business In Another State
Citizen or Subject of a O43 © 3 Foreign Nation oO 6 06
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
[ CONTRACT TORTS FORIFEITURE/PENALTY. BANKRUPTCY OTHERSTATUIES __]
0 110 Insurance PERSONAL INJURY PERSONAL INJURY [C1] 625 Drug Related Seizure © 422 Appeal 28 USC 158 0) 375 False Claims Act
© 120 Marine 1 310 Airplane 1 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
130 Miller Act C1 315 Airplane Product Product Liability 1 690 Other 28 USC 157 3729(a))
1 140 Negotiable Instrument Liability 11 367 Health Care/ 1 400 State Reapportionment
C1 150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights O 430 Banks and Banking
7 151 Medicare Act © 330 Federal Employers’ Product Liability 1 830 Patent J 450 Commerce
1 152 Recovery of Defaulted Liability 1 368 Asbestos Personal (1 840 Trademark © 460 Deportation
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(Excludes Veterans) C1 345 Marine Product Liability LABOR SOCIAL SECURITY Cormupt Organizations
1 153 Recovery of Overpayment Liability PERSONAL PROPERTY | 710 Fair Labor Standards © 861 HIA (1395ff) © 480 Consumer Credit
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1 196 Franchise Injury OF 385 Property Damage 1 751 Family and Medical 0 891 Agricultural Acts
1 362 Personal Injury - Product Liability Leave Act 1 893 Environmental Matters
__ Medical Malpractice G 790 Other Labor Litigation 1 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|0 791 Employee Retirement FEDERAL TAX SUITS Act
G 210 Land Condemnation ©} 440 Other Civil Rights Habeas Corpus: Income Security Act 7 870 Taxes (U.S. Plaintiff 1 896 Arbitration
220 Foreclosure GC 441 Voting 1 463 Alien Detainee or Defendant) 1 899 Administrative Procedure
230 Rent Lease & Ejectment 442 Employment 1 510 Motions to Vacate 1 871 IRS—Third Party Act/Review or Appeal of
OF 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 Agency Decision
1 245 Tort Product Liability Accommodations O 530 General C1 950 Constitutionality of
© 290 All Other Real Property C1 445 Amer. w/Disabilities -] 1 535 Death Penalty IMMIGRATION State Statutes
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VI. CAUSE OF ACTION

47U

Cite the SC 597 S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

Telemarketing

 

Brief aa of cause:

 

VII. REQUESTED IN
COMPLAINT:

CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

DEMAND $
100,000.00

CHECK YES only if demanded in complaint:

JURY DEMAND:

WYes No

 

VII. RELATED CASE(S)

(See instructions):

 

 

 

 

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Craig Cunningham

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